               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

KENNETH HUNTER, RICK A.             )
DONATHAN, and JERRY D. MEDLIN,      )
                                    )
                Plaintiffs,         )
                                    )
           v.                       )
                                    )
TOWN OF MOCKSVILLE, NORTH           )
CAROLINA; ROBERT W. COOK, in        )
his official capacity as            )
Administrative Chief of Police      )
of the Mocksville Police            )
Department and in his               )         1:12cv333
individual capacity; and            )
CHRISTINE W. BRALLEY, in her        )
official capacity as Town           )
Manager of the Town of              )
Mocksville and in her               )
individual capacity,                )
                                    )
                Defendants,         )
                                    )
and THE INTERLOCAL RISK             )
FINANCING FUND OF NORTH             )
CAROLINA,                           )
                                    )
                Intervenors.        )


                    MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge.

     This case is before the court on various post-trial motions

of the parties and a proposed intervenor following a jury verdict

for Plaintiffs and the court’s award of equitable relief in this

action for wrongful discharge in violation of the First Amendment

under 42 U.S.C. § 1983 and State law.             The purpose of this

memorandum opinion and order is to resolve all outstanding motions




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so that a final judgment may be entered.

I.    BACKGROUND

      A more complete recitation of the background is set forth in

the court’s August 12, 2016 memorandum opinion and order (Doc.

176) and need not be repeated here.

      Based on this court’s rulings on post-trial equitable relief,

and incorporating the information submitted by the parties at the

court’s request (Doc. 178), Plaintiffs’ recovery against the Town

of Mocksville (“Town”) and Defendants Robert W. Cook and Christine

W. Bralley 1 as to Plaintiffs’ First Amendment Free Speech claim

under § 1983 (first claim for relief) and wrongful termination

claim under North Carolina law (third claim for relief) is as

follows:

      Kenneth L. Hunter:

            Compensatory Damages:        $805,706

            Front Pay:                   $211,893

      Rick A. Donathan:

            Compensatory Damages:        $310,830

            Front Pay:                   $197,523

      Jerry D. Medlin:

            Compensatory Damages:        $288,293


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  Counsel for Defendants Cook and Bralley contended for the first time
during a February 1, 2017 telephonic hearing that these Defendants should
not be liable for equitable relief on the § 1983 claim. Insofar as this
issue has not been briefed or raised before, the court declines to
consider it now.

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              Front Pay:                   $176,299

In addition, on their § 1983 claims each Plaintiff was awarded,

and shall recover, $10,000 in punitive damages against Defendants

Cook    and   Bralley,     individually,   for   a   total   of   $20,000   per

Plaintiff.      (Doc. 167.)

       In the current motions before the court, the following issues

are raised.       First, Plaintiffs Donathan and Medlin ask the court

to reconsider its denial of reinstatement of their employment.

(Doc. 191.)       Second, the Interlocal Risk Financing Fund of North

Carolina (“Fund”), the Town’s municipal risk pool trust carrier

which provides liability coverage for the Town, moves to intervene

in order to argue that its policy limits total insurance coverage

for Plaintiffs’ combined claims to $1 million. (Doc. 195.) Third,

the Town argues that its governmental immunity makes it liable

only to the extent it has insurance coverage and that the court is

precluded from awarding judgment for any amount in excess of such

coverage.      (Doc. 186.)

       Each issue will be addressed in turn.

II.    ANALYSIS

       A.     Motion for Reconsideration and Reinstatement

       Plaintiffs Donathan and Medlin move the court to reconsider

its post-trial decision to deny their request for reinstatement to

their previous employment as lieutenants in the Mocksville Police

Department (“MPD”).         (Doc. 191.)    Both men had been promoted to

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that position just before their termination. They argue that since

the court’s ruling, two factual circumstances relied upon by the

court have changed: Town Manager Bralley retired from her position,

and even more recently a MPD lieutenant has departed, thus creating

an open position.           (Doc. 204-1 at 2.) 2               The Town continues to

oppose reinstatement.             It relies on the opinion expressed by its

current Chief of Police, Todd Penley, that reinstatement “would

result in hostility and antagonism within the [MPD]” because the

litigation has “damaged the relationships between the plaintiffs

and individuals in the local law enforcement community to such an

extent      that   reinstatement         of    the    plaintiffs    would     jeopardize

public safety.”        (Doc. 197-1 at 2.)              The Town also argues that no

funding exists to create a new officer position and states that it

does   not    wish   to    terminate          any    current   officer   in    order   to

reinstate either Plaintiff.              (Id.)       Of course, to the extent there

is an opening within the MPD, the latter concerns would be moot.

       As    the   court   acknowledged             earlier,   reinstatement     is    the

preferred remedy.          (Doc. 176 at 11.)            Reinstatement was declined

in   part    because      there    was    no       position    available,     Defendants

indicated there was no budget money to fund additional positions,


2
  Medlin has also filed a declaration in which he states that based on
a conversation with a former MPD officer who spoke with “close
acquaintances” at the MPD, a lieutenant intends to retire in June 2017
and a “reliable source” indicates that at least three other MPD officers
intend to give notice of their resignations. (Doc. 206-2 at 2.) As
Defendants note (Doc. 207 at 1), this is unreliable hearsay that the
court declines to credit.

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and the Town Manager opposed it.              The Town also presented evidence

that, in its view, a working relationship would be infeasible in

light of all that has transpired.               That was based in part on the

opinion of Bralley, who has since left.                   (See Doc. 170-1 at 1

(Bralley testifying that the trial “damaged the relationships

between the plaintiffs and individuals employed by the Town,”

making reinstatement “unworkable”).)                Chief Penley also stated

that mutual trust is vital to effective police work (Doc. 170-2 at

2), that the events of the case “damaged the relationships between

the    plaintiffs   and    individuals        in   the   local    law    enforcement

community,” and that reinstatement “would result in hostility and

antagonism within the Department” (id. at 1-2).

       As to Medlin, there is evidence that his relationship with

the MPD following these events has only deteriorated.                     On August

28, 2016, after trial in this case, Medlin posted on social media

that Mocksville is a “crooked [expletive] hole of a town.”                    (Doc.

197-1 at 2.)        On November 13, 2016, he offered another online

posting that questioned law enforcement’s actions as to an active

investigation, an action Medlin seems to acknowledge was at best

ill-advised.        (Id.)         Chief   Penley     finds       these   statements

“unprofessional and incompatible with employment as a Mocksville

police officer.”          (Id.)     The Town argues that these actions

reinforce its concern that Medlin lacks trust within the MPD.

       The court accepts the Town’s statement that trust within a

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law enforcement department is serious.        See Wootten v. Virginia,

No. 6:12-cv-00013, 2016 WL 7496145, at *3 (W.D. Va. Dec. 30, 2016)

(finding     unique   need   for    deference     to     law    enforcement

decisionmaking as to personnel in the chain of command), appeal

docketed, No. 17-1117 (4th Cir. Jan. 26, 2017).                MPD officers

testified at trial that Medlin was “insubordinate” because he

refused to follow orders (Doc. 37-1 at 3-4; Doc. 37-2 at 5), used

MPD property for personal use (Doc. 37-1 at 3-4, 6), and colluded

with Hunter to intimidate fellow MPD employees (id. at 3-4; Doc.

37-2 at 5).     An additional problem for Medlin is that he is no

longer certified as a law enforcement officer and thus lacks the

minimum qualification to be an MPD officer.            (Doc. 197-1 at 2.)

Considering the complete record as to Medlin and considering his

negative    post-trial   comments   about   the   Town   and   ongoing   law

enforcement, the court will not change its ruling.

        Donathan is in a more favorable posture, however.         Testimony

at trial revealed he is a decorated officer.             Donathan received

the “Silver Star” in 2007 for his involvement in saving several

elderly residents of a nursing home during a fire.                 For his

actions, he was inducted into the National Police Hall of Fame and

received a letter of commendation from then-President George W.

Bush.    Donathan also received the “outstanding officer of the year

award” in 2002 and 2007.      The Davie County Sheriff, Andy Stokes,

whom the court found credible, testified that he knew Donathan

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personally when they both worked the nursing home fire and was

“very impressed” by him. The trial evidence revealed that Donathan

was invited to Chief Cook’s house a month before he was terminated,

told he was a good officer, promoted to lieutenant, and advised

that he was likely to be promoted to captain.             Cook warned him,

however, that he needed to adhere to MPD politics.            (Doc. 43-2 at

8.)

       Concerns of trust expressed as to Medlin 3 are not evident with

respect to Donathan.        At trial, Defendants contended that they

terminated Donathan largely because he was distracted by his

operation of his personal business.        The jury necessarily rejected

this conclusion, and in any event there is no indication that

Donathan still operates this business. 4          Unlike Medlin, Donathan

remains a certified law enforcement officer, ready to go to work.

It has been over five years since his termination.             Unlike as to

Medlin, the Town has not offered any specific example of animosity

as to Donathan; indeed, Chief Penley encountered him after the

trial and told him he has “no preconceived notions” about him and

an “open door” if he wished to talk.           (Doc. 197-1 at 2-3.)         Any

lingering resentment within the MPD as to Donathan has likely


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  Sheriff Stokes’ knowledge of Medlin was not based on personal
information, and Medlin left the sheriff’s office before Stokes became
sheriff.
4 Indeed, Donathan explained during his deposition in November of 2012
that the business was in the process of being sold. (Doc. 37-5 at 2.)


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dissipated, and he would start with a new Chief of Police who was

not involved in the MPD at the time of the events leading to his

termination.        It is thus difficult to say that the employment

relationship is irreparably damaged as to Donathan.                    Moreover,

Chief Penley’s concerns about any damaged relationships between

other Plaintiffs and local law enforcement do not appear to be an

issue with respect to Donathan.

        However, the Town acknowledged during the February 1, 2017

telephonic hearing that the only MPD position presently available

is at the entry level. 5          Despite the court’s inquiry, counsel for

Plaintiffs     would   not    commit     that     Donathan    (or    Medlin)   was

interested in that position.            As the court noted before, it is

disinclined to order immediate reinstatement to a position where

there    are   no   funds    to    support   it    or   it   would   require   the

displacement of a current employee.               (Doc. 176    at 11-12 (citing

Duke v. Uniroyal, Inc., 928 F.2d 1413, 1423 (4th Cir. 1991); Roush

v. KFC Nat’l Mgmt. Co., 10 F.3d 392, 398 (6th Cir. 1993)).)                    The

court will therefore not require the Town, which operates a small

police department, to fund a new position or displace a current

lieutenant.

        Having carefully considered Plaintiffs’ request in light of



5 The Town represents that the opening was created by the departure of
an MPD lieutenant, but by the time Plaintiffs raised the issue with the
court, that position had been filled by a promotion and only an entry
level position remained open. (See Doc. 206-1.)

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the new circumstances and conscious of the law’s preference for

reinstatement,      the   court   will       order   that   the   Town   reinstate

Donathan   to   a   lieutenant’s    position         upon   the   next   available

opening.   Until then, Donathan will be entitled to the equitable

relief of front pay up to the expiration of that award.                  Spagnuolo

v. Whirlpool Corp., 717 F.2d 114, 121 (4th Cir. 1983) (explaining

that district court’s order that the employer reinstate employee

to a comparable position if it so chose and pay the employee-

plaintiff in the meantime was “fully authorized”); Patterson v.

Am. Tobacco Co., 535 F.2d 257, 269 (4th Cir. 1976) (ordering that

employees who were unlawfully denied promotions receive pay until

they “obtain a job commensurate with their status”); see also

Briseno v. Cent. Tech. Cmty. Coll. Area, 739 F.2d 344, 348 (8th

Cir. 1984) (remanding to district court to order that plaintiff be

reinstated to a comparable position and be paid “monthly payment

equal to the difference between what he would have earned in a

comparable position and the amount that he earns in mitigation of

damages” until he is placed in that position).

     If Donathan is returned to his former position, his award of

front pay must be prorated, as the remedies are mutually exclusive.

His front pay award of $197,523 was broken down into future loss

of compensation and benefits ($89,063), future loss of retirement

benefits ($88,631), and future loss of supplemental separation

allowance ($19,829).       (Doc. 178-2.)         The court will exercise its

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authority to make a reasonable approximation of present value in

determining front pay, Xiao-Yue Gu v. Hughes, STX Corp., 127 F.

Supp. 2d 751, 763 (D. Md. 2001), and will simply divide Donathan’s

total award of front pay ($197,523) by the number of months it

covered (21) to arrive at a prorated amount of $9,405 per month.

He is thus entitled to that monthly amount until he is reinstated

or until the 21 month front pay period expires, whichever occurs

first.

     B.    Intervention by the Fund

     The   Town   enjoys   sovereign      immunity   from   damages   claims

arising from actions of their officers and employees committed

while performing a governmental function.             Clayton v. Branson,

153 N.C. App. 488, 493, 570 S.E.2d 253, 256-57 (2002).                Under

North Carolina law, the Town waives its immunity to the extent it

has purchased insurance.       N.C. Gen. Stat. § 160A-485; Combs v.

Town of Bellhaven, 106 N.C. App. 71, 73, 415 S.E.2d 91, 92 (1992).

Beyond the extent of its insurance coverage, however, there is no

waiver.    Wilhelm v. City of Fayetteville, 121 N.C. App. 87, 89,

464 S.E.2d 299, 300 (1995); see also Cunningham v. Riley, 169 N.C.

App. 600, 602, 611 S.E.2d 423, 424 (2005) (“A county may waive

sovereign immunity by purchasing liability insurance, but only to

the extent of coverage provided.” (citations omitted)).                North

Carolina    law   prohibits    the     entry   of    judgment   against     a

municipality to the extent of the municipality’s immunity.                See

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N.C. Gen. Stat. § 160A-485(c) (“No judgment may be entered against

a city in excess of its insurance policy limits on any tort claim

for which it would have been immune but for the purchase of

liability    insurance      pursuant    to    this   section.”).      Thus,   the

parties agree that it is incumbent on the court to determine the

extent of the Town’s insurance coverage before entering final

judgment.

    The Fund seeks to intervene as of right, and permissively,

pursuant    to    Federal    Rules     of    Civil   Procedure     24(a)(2)   and

(b)(1)(B), respectively, to argue the limits of coverage.                 (Doc.

195.)   It argues that failure to permit intervention would impair

its ability to protect the Fund’s interests.                (Doc. 196 at 2.)

Plaintiffs oppose intervention, contending that the motion is

untimely and unnecessary because the Fund’s position is adequately

advocated by Defendants.         (Doc. 202 at 2-3.)        It argues further

that if intervention is permitted, no additional delay or briefing

should be allowed.       (Id. at 3.)

    “Under       Rule   24(a)(2),      a     district    court     must   permit

intervention as a matter of right if the movant can demonstrate

‘(1) an interest in the subject matter of the action; (2) that

the protection of this interest would be impaired because of the

action; and (3) that the applicant’s interest is not adequately

represented by existing parties to the litigation.’”                  Stuart v.

Huff, 706 F.3d 345, 349 (4th Cir. 2013) (quoting Teague v. Bakker,

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    931 F.2d 259, 260–61 (4th Cir. 1991)).           Under Rule 24(b), the

    court may permit anyone who “has a claim or defense that shares

    with the main action a common question of law or fact” to intervene

    on timely motion.       Fed. R. Civ. P. 24(b)(1)(B).       “In exercising

    its discretion, the court must consider whether the intervention

    will unduly delay or prejudice the adjudication of the original

    parties’ rights.”       Fed. R. Civ. P. 24(b)(3).     Thus, where a movant

    seeks permissive intervention as a defendant, the movant must

    satisfy three requirements: (1) the motion must be timely; (2)

    the defenses or counterclaims must have a question of law or fact

    in common with the main action; and (3) intervention must not

    result in undue delay or prejudice to the existing parties.              See

    Wright v. Krispy Kreme Doughnuts, Inc., 231 F.R.D. 475, 479

    (M.D.N.C. 2005); Solo Cup Operating Corp. v. GGCY Energy LLC,

    Civil No. WDQ-12-3194, 2013 WL 2151503, at *2 (D. Md. May 15,

    2013); Shanghai Meihao Elec., Inc. v. Leviton Mfg. Co., 223 F.R.D.

    386, 387 (D. Md. 2004). 6       Trial courts are directed to construe

    Rule   24   liberally    to   allow   intervention,   where   appropriate.

    Feller v. Brock, 802 F.2d 722, 729 (4th Cir. 1986) (noting that

    “liberal intervention is desirable to dispose of as much of a

    controversy involving as many apparently concerned persons as is



6 Intervention will not upset the court’s subject matter jurisdiction,
which is based on the presence of a federal question.      See, e.g.,
Radchyshyn v. Allstate Indem. Co., 311 F.R.D. 156, 158–61 (W.D.N.C.
2015).

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compatible    with   efficiency    and     due   process”   (citations   and

internal quotation marks omitted)); Capacchione v. Charlotte-

Mecklenburg Bd. of Educ., 179 F.R.D. 505, 507 (W.D.N.C. 1998)

(same).

    The scope of coverage under the Fund’s insurance policy is

surely an interest in the action that would be impaired by the

court’s     interpretation    of   the     policy.     Plaintiffs   argue,

nevertheless, that the Town is an adequate advocate for the Fund’s

position.    In light of the potential conflict of interest between

the Town, as insured, and the Fund, as insurer, and considering

the Fund’s clear interest in construing its policy limits, the

court cannot agree.

    Moreover, even if there were any serious doubt about that

question,    the   motion    should   be   granted   under   Rule   24(b)’s

permissive intervention standards.          The Fund’s motion is timely.

The question of insurance coverage has arisen only recently.

Plaintiffs’ argument that the Fund should have sought intervention

much earlier ignores reality.         No one knew what verdict the jury

would return, and until a verdict in excess of the alleged $1

million coverage amount was rendered, the court had no reason to

have entertained any such request.

    Moreover, the Fund shares common questions of law and fact

with the parties to this action.            Indeed, the Fund’s arguments

directly address the scope of coverage, the resolution of which

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    is essential to this court’s entry of a final judgment because

    the Town’s liability rises or falls on it. N.C. Gen. Stat. § 160A-

    485(c).

        Finally, the addition of the Fund will not cause undue delay

    or prejudice to the parties. 7    As the Fund’s contentions directly

    overlap the legal and factual issues already present in the case,

    the addition of the Fund will not complicate the proceedings or

    expand their scope.   In fact, the Fund has already filed its brief

    and evidence as to coverage, and all parties agreed during the

    February 1, 2017 telephonic hearing that the court should decide

    the coverage issue on the current record with no additional

    proceedings.   Thus, apart from what delay has already transpired,

    the addition of the Fund does not prove to provide any further

    delay.

        For these reasons, the court will allow the Fund to intervene

    to present its contentions as to the nature of insurance coverage

    provided the Town under the Fund’s policy.

        C.    Scope of Insurance Coverage and Governmental Immunity

        Next, the court must determine the scope of insurance coverage

and the extent of governmental immunity. Two issues are presented.

First, what is the extent of coverage in this case under the Fund’s



7While the court has pressed to resolve all post-trial motions and enter
final judgment, it is notable that Plaintiffs consented to much of
Defendants’ requests for additional time. See, e.g., Docs. 185, 188,
and docket text entries dated October 7, 2016, and October 17, 2016.

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policy?   Second, if that insurance fails to cover the complete

award in this case, are Plaintiffs entitled to additional recovery

for which immunity is waived pursuant to their claim for violation

of the North Carolina Constitution (second claim for relief)? Each

question will be addressed below.

          1.    Scope of Coverage under the Fund’s Policy

     The parties and the Fund agree that Plaintiffs’ claims are

covered by the Fund’s policy; their disagreement is as to the

extent of coverage.    Plaintiffs argue that the policy provides up

to $1 million for each Plaintiff and $3 million in the aggregate,

while the Fund and Town contend that all three Plaintiffs’ claims

are limited to a total of $1 million.

     The interpretation of an insurance policy presents a question

of law, and the parties accept that the Fund’s policy must be

interpreted under the law of the State of North Carolina.            Under

North Carolina law, “an insurance policy is a contract between the

parties which must be construed and enforced according to its

terms.”   Graham v. James F. Jackson Assoc., Inc., 84 N.C. App.

427, 430, 352 S.E.2d 878, 880 (1987) (citing Allstate Ins. Co. v.

Shelby Mut. Ins. Co., 269 N.C. 341, 152 S.E.2d 436 (1967)).               The

court is obliged to use the definitions supplied in the policy to

determine the meaning of words contained in it.          Durham City Bd.

of Educ. v. Nat’l Union Fire Ins. Co., 109 N.C. App. 152, 156, 426

S.E.2d 451, 453 (1993) (quoting Wachovia Bank & Trust Co. v.

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Westchester Fire Ins. Co., 276 N.C. 348, 354, 172 S.E.2d 518, 522

(1970)). “In the absence of such definition[s], nontechnical words

are to be given a meaning consistent with the sense in which they

are used in ordinary speech . . . .”                Id. (quoting Wachovia Bank

& Trust Co., 276 N.C. at 354, 172 S.E.2d at 522) (alterations in

original).

     Any ambiguity in a policy must be strictly construed in favor

of providing coverage to the insured.                  City of Greenville v.

Hayward, 130 N.C. App. 271, 275, 502 S.E.2d 430, 433 (1998); Maddox

v. Colonial Life & Accident Ins. Co., 303 N.C. 648, 650, 280 S.E.2d

907, 908 (1981).       In other words, when confronting ambiguity,

courts should interpret the policy as having greater coverage.

Harleysville Mut. Ins. Co. v. Buzz Off Insect Shield L.L.C., 364

N.C. 1, 9-10, 692 S.E.2d 605, 612 (2010) (policy provisions that

extend coverage must be liberally construed in order to provide

coverage    wherever   possible     by    reasonable        construction).        “An

ambiguity     exists   when   the   language         used    in   the    policy   is

susceptible       to    different,            and      perhaps          conflicting,

interpretations.”      McLeod v. Nationwide Mut. Ins. Co., 115 N.C.

App. 283, 290, 444 S.E.2d 487, 492 (1994).             The court cannot assume

the existence of an ambiguity, however, “simply because a plaintiff

makes a claim based on a construction of the insurance policy’s

language contrary to that of the company’s interpretation.” Christ

Lutheran Church by & Through Matthews v. State Farm Fire & Cas.

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Co., 122 N.C. App. 614, 471 S.E.2d 124, 125 (1996).

          If the policy is not ambiguous, “the court must enforce the

contract as the parties have made it and may not, under the guise

of interpreting an [allegedly] ambiguous provision, remake the

contract and impose liability upon the insurance company which it

did not assume and for which the policyholder did not pay.”

Wachovia Bank & Trust Co., 276 N.C. at 354, 172 S.E.2d at 522.

     Here, the Fund’s insurance is a “claims made” policy, which

means it covers claims actually made during the policy period of

July 1, 2011, to July 1, 2012.          (Doc. 186-1 at 6.)     Section I of

the policy provides: “We will pay those sums that the insured

becomes    legally   obligated    to    pay   as   damages   resulting   from

‘claims’, to which this insurance applies, against the insured by

reason of ‘employment wrongful act(s).’” (Id. at 27.) “Employment

wrongful acts” are broadly defined and include “termination of

employment.”     (Id. at 36.)

     The insuring agreement further provides: “The amount we will

pay for damages is limited as described in SECTION III - LIMITS OF

INSURANCE.”     (Id. at 27.)     Section III provides:

     SECTION III - LIMITS OF INSURANCE

     1.      The Limits of Insurance shown in the Declarations
             and the rules below fix the most we will pay
             regardless of the number of:

             a. Insureds;
             b. “Claims” made or “suits” brought; or


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            c.    Persons or organizations    making   “claims”   or
                 bringing “suits.”

     2.     The Annual Aggregate Limit is the most we will pay
            for all damages.

     3.     Subject to 2. above, the Each Claim Limit is the
            most we will pay for all loss arising out of any
            “employment wrongful act(s)” covered by this
            policy. “Claims” based on and arising out of the
            same act or interrelated acts of one or more
            insureds shall be considered to be a single
            “claim.”

(Id. at 31 (emphasis added).)         The pertinent Declarations page

provides:

            Each Claim Limit                 $1,000,000
            Annual Aggregate Limit
            for all Claims                   $3,000,000

            Deductible (Each Claim)          $5,000

(Id. at 6.)      Section IV defines a “claim”:

     5. “Claim” means a demand received by the insured for
     money damages, non monetary damages as provided in the
     SUPPLEMENTARY PAYMENTS, filing and or service of suit
     papers or arbitration proceedings filed against the
     insured arising out of “employment wrongful act(s)” to
     which this insurance applies.

(Id. at 36.)      Finally, the policy provides:

     8.     Deductible

            a.     Our obligation under Section I of this policy
                   to pay damages on behalf of the insured
                   applies only to the amount of damages in
                   excess of any deductible amount stated in the
                   Declarations.

            b.     The deductible amount stated in the
                   Declarations, if any, applies to all damages
                   sustained by any person or organization as the
                   result of any one “claim”. “Claims” based on

                                   18



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                 or arising out of the same act or interrelated
                 acts of one or more insureds shall be
                 considered a single “claim”.

                                *    *    *

(Id. at 33 (emphasis added).)

     Plaintiffs argue that the policy provides $1 million for each

Plaintiff for a total of $3 million coverage. 8         They reason that

“each plaintiff’s loss resulting from an independent ‘wrongful

employment act[]’ constitutes a separate claim subject to the Each

Claim Limit of $1M.”      (Doc. 193 at 4.)      Consequently, they read

paragraph 3 of Section III to “subject[] a single claimant with

multiple claims for loss arising from ‘employment wrongful acts’

to the ‘Each Claim Limit’” of $1 million.             (Id. at 6.)      They

contend that this interpretation reflects the policy objective “to

limit the losses of multiple persons to the $3M Annual Aggregate,

and the loss of a single claimant to the $1M limit.”           (Id. at 7.)

     As further support for their argument, Plaintiffs contend

that the use of the term “loss” in paragraph 3 of Section III (“the

Each Claim Limit is the most we will pay for all loss arising out



8
  Plaintiffs object to two items attached to the Town’s brief: a letter
from the Fund’s counsel explaining her opinion as to the scope of
coverage under the policy (Doc. 186-1 at 39-42); and a statement in an
affidavit of the Fund’s director of claims that expresses his opinion
that Plaintiffs’ claims collectively constitute a single claim under the
policy that is subject to the $1 million “each claim” limit (id. at 1-
2).    The court sustains the objection to the extent the court
acknowledges it is not bound by an insurer’s interpretation of its
coverage, Wiggins v. City of Monroe, 73 N.C. App. 44, 50, 326 S.E.2d 39,
44 (1985), and the court will treat the argument of counsel as just that.

                                    19



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of any ‘employment wrongful acts’” (Doc. 186-1 at 31)) describes

a singular “loss” of an individual and not the “losses” of multiple

persons (id. at 8).       The use of the phrase “arising out of an

employment wrongful act” is further proof of this, they contend,

because a singular “loss” must be caused by the termination of a

single claimant and not by the termination of some other claimant.

(Id.)   Finally, they note that the absence of the word “persons”

in paragraph 3, in light of the inclusion of the words “claims”

and “insureds,” reflects an intent to apply the Each Claim Limit

to a claimant irrespective of only the number of “claims” or

“insureds,” but not as to the number of “persons” bringing claims.

(Id.)    To interpret the policy otherwise, they contend, would

“potentially    obliterate   the    insurer’s   promise   to   provide     $3M

coverage ‘for all claims.’”        (Id.)

     The Fund 9 disagrees and contends that Plaintiffs’ argument

misreads the policy and reads out Section III(1)(c), which provides

that the Declarations limits (i.e., the Each Claim and Annual

Aggregate limits) and “the rules below” (i.e., the provisions of

Section III(3)) “fix the most we will pay regardless of the number

of . . . Persons    . . . making ‘claims’ or bringing ‘suits’”        (Doc.

203 at 9.)     The “rules below,” the Fund notes, refers to Section




9 The Town does not contest the Fund’s construction of the policy. (Doc.
186 at 2.) This may be because the Town enjoys governmental immunity
otherwise.

                                     20



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(3), which declares all “Claims based on and arising out of the

same or interrelated acts of one or more insureds” to be a “single

‘claim’” and limits “all loss arising out of” such “employment

wrongful acts” to the Each Claim Limit.          (Id. at 2-3.)     The Fund

concludes, therefore, that when all provisions are given meaning

and read together, they reflect a clear intent that, “regardless

of the number of . . . Persons . . . making ‘claims’ or bringing

‘suits,’” all “[c]laims based on and arising out of the same or

interrelated acts of one or more insureds” will be treated as a

single claim, subjecting “all loss” to the $1 million Each Claim

Limit. 10

      No party cites binding authority from North Carolina that

addresses this situation.      However, application of the appropriate

rules of construction employed by North Carolina courts compels

the court to agree with the Fund.

      All provisions of an insurance policy must be read together

so as to give each provision meaning.           Woods v. Nationwide Mut.

Ins. Co., 295 N.C. 500, 506, 246 S.E.2d 773, 777 (1978); Wachovia

Bank & Trust Co., 276 N.C. at 355, 172 S.E.2d at 522.            The policy

should also be construed in the context of the facts of the

particular case, and not simply in the abstract.          Highwoods Prop.,




10Of course, under no circumstance would the Fund be obligated to pay
more than $3 million during the policy period for the combination of
these and other unrelated claims.

                                     21



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Inc. v. Exec. Risk Indem., Inc., 407 F.3d 917, 923 (8th Cir. 2005)

(applying North Carolina law, noting that “the same language may

be found both ambiguous and unambiguous as applied to different

facts”);   Lexington Ins. Co. v. Lexington Healthcare Grp., Inc.,

311 Conn. 29, 42, 84 A.3d 1167, 1175 (2014).       Here, the unambiguous

language of Section III, read as a whole, provides that all

Plaintiffs’ claims based on and arising out of the insured’s

interrelated   wrongful    employment      acts   are     subject   to     the

$1,000,000 Each Claim Limit, regardless of the number of persons

bringing claims.     To adopt Plaintiffs’ construction - that the

provisions of Section III limit only each Plaintiff’s recovery for

multiple claims, but no more - requires a strained reading of

unambiguous terms and would read out of the policy the express

reference to the limitation as to “persons.”

     Plaintiffs’   interpretation       also   misreads    the   meaning    of

“claim,” ascribing it too narrow a scope.               The policy defines

“claim” as “a demand received by the insured for money damages,

non monetary damages . . ., filing and or service of suit papers

or arbitration proceedings filed against the insured arising out

of ‘employment wrongful act(s)’ to which this insurance applies.”

(Doc. 186-1 at 36.)       Plaintiffs attempt to equate “claim” with

each cause of action (or “claim for relief”) alleged by each

Plaintiff in the complaint while simultaneously limiting “claim”

to only those causes of action of a single Plaintiff.                    This

                                   22



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construction finds no support in the definition, which is not

limited to any number of claimants.             Here (putting aside the

possibility that the single complaint filed by the three Plaintiffs

may constitute a single “claim”), each Plaintiff’s demand for

damages and reinstatement constitutes at best a separate “claim.”

Indeed, Plaintiffs seem to accept this much when they argue that

“each plaintiff’s loss resulting from an independent ‘wrongful

employment act,’ constitutes a separate claim.”           (Doc. 193 at 4.)

When the provisions of Section III(3) are applied, therefore, the

multiple claims made by Plaintiffs are “considered to be a single

‘claim’” if they are “based on and aris[e] out of the same act or

interrelated acts” of the insured.         (Doc. 186-1 at 31.)

      Plaintiffs argue that the terminations of three Plaintiffs

was not “one act” or “interrelated acts” under the policy.             (Doc.

193 at 7-10.)     But Plaintiffs do not address why their claims are

not “based on and aris[e] out of 11 the same act or interrelated

acts” of the Town, which is the precise language of the policy.

(Doc. 186-1 at 31.)      As Plaintiffs point out elsewhere, it was the



11
   “The words ‘arising out of’ are not words of narrow and specific
limitation but are broad, general, and comprehensive terms affecting
broad coverage. They are intended to, and do, afford protection to the
insured against liability imposed upon him for all damages caused by
acts done in connection with or arising out of such use. They are words
of much broader significance than ‘caused by.’ They are ordinarily
understood   to   mean . . . ’incident   to,’  or   ‘having  connection
with . . . .’” State Capital Ins. Co. v. Nationwide Mut. Ins. Co., 318
N.C. 534, 539, 350 S.E.2d 66, 69 (1986).


                                     23



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Town that defended the action by arguing that each Plaintiff was

fired   for   separate    employment-related          reasons   -   a     defense

Plaintiffs argued against and the jury rejected.                Bound by that

position, Plaintiffs now suggest that the Town’s defenses raised

distinct issues and Plaintiffs’ damages were different.                 (Doc. 193

at 10 n.3.)     But the policy covers “claims” as articulated by

claimants, not defenses.        And the fact that each Plaintiff may

have different damages based on years of service does not mean

that his claim was not based on or arose out of the same or

interrelated employment wrongful acts.

     Given the jury’s verdict, the jury necessarily found that the

reason Bralley and Cook terminated all three Plaintiffs was because

Bralley and Cook learned that Plaintiffs had jointly participated

in a call to the Governor’s office on December 14, 2011, to

complain about the MPD, which these Defendants viewed as an act of

insubordination, as alleged in the complaint.                 (Doc. 1 at 18.)

The trial evidence supported this conclusion.                On the day before

Plaintiffs    were   fired,   Bralley    and   Cook    met   with   the   Town’s

attorney to discuss the prospect of firing Plaintiffs and to review

the letters of terminations.       All three Plaintiffs were fired on

the same day within hours of each other.          Prior to that, Cook had

never terminated anyone before for the reasons Cook, Bralley, and

the Town asserted as a defense.          Donathan had been told shortly

before that he had to “fall in line” with Cook’s leadership and

                                    24



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the “politics” of the MPD.         On the day of the terminations, Cook

posted a note in the MPD that “it was a tough but clear decision

to make” and “[a]ny further rumors will be dealt with swiftly.”

Cook had described his opinion that “it was the purpose of these

gentlemen [Plaintiffs] to degrade the department.”                Cook also told

the local District Attorney, “You can’t have three people in house

undercutting you and causing trouble.”              In light of the verdict,

the only conclusion that can be drawn from the evidence is that

the jury determined that Plaintiffs’ terminations were “based on

and aros[e] out of the same act” by the Town; namely, the Town’s

approval of Plaintiffs’ joint terminations upon the urging of

Bralley   and    Cook,   who   viewed   their      call   to    the   Governor   as

insubordinate.

     Even if that were not so, the wrongful termination of each

Plaintiff was at least “interrelated” under the terms of the

policy.      Plaintiffs    argue   that      the   phrase      “interrelated”    is

ambiguous and “more restrictive” than “related.”                  (Id. at 9-10.)

They contend therefore that “it must be interpreted in favor of

coverage.”      (Id. at 10.)     But they do not say why this would be

so, other than to say that it does not necessarily mean “related.”

(Id.)

     Plaintiffs offer no competing definition of “interrelated”

that would render the term ambiguous in the context of this case.

There is no need to search for guidance on construing the term

                                        25



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“related,”       because    it      is   defined          in   the      policy:       “Related

‘employment wrongful act(s)’ means two or more wrongful acts that

have as a common nexus any fact, circumstance, situation, event,

transaction, cause, or series of related facts, circumstances,

situations, events, transactions, or causes.”                         (Doc. 186-1 at 27.)

“Interrelated” is not defined in the policy.                           But it is commonly

defined as meaning “having a mutual or reciprocal relation.”

Webster’s Third New International Dictionary 1182 (1986).                               Mutual

means “shared       in   common,”        id.   at    1493,       and    reciprocal       means

“shared” or “mutually existing,” id. at 1895. 12                         Some courts have

found    the     term    “interrelated”         to    be       more     restrictive       than

“related,” while others have been more willing to find acts to be

interrelated.      See Sigma Fin. Corp. v. Am. Intern. Specialty Lines

Ins. Co., 200 F. Supp. 2d 697, 704-05 (E.D. Mich. 2001) (analyzing

cases    and   finding      “interrelated”           to    mean       “having     a    ‘mutual

relationship’” and narrower than “related”).                         One court has noted

that some insurers have defined “interrelated wrongful acts” as

acts    “which    have     as   a   common      nexus      any    fact,     circumstance,

situation, event, transaction or series of facts, circumstances,

situations, events or transactions.”                 Informix Corp. v. Lloyd’s of

London, No. C-91-1506-FMS, 1992 WL 469802, at *3 (N.D. Cal. Oct.

15, 1992).       This is, of course, the definition the Fund gave to


12
   These same definitions can be found at https://www.merriam-
webster.com/dictionary, last accessed Feb. 16, 2017.

                                           26



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the term “related” in this case.

          Even if the term “interrelated” could be said to be ambiguous

in the abstract, the use of the term is not ambiguous when applied

to the facts of Plaintiffs’ case.               For Plaintiffs’ claims to be

considered a single claim because they are interrelated, the

employment wrongful acts must have some common nexus of fact,

circumstance, situation, event, transaction, or cause that is

shared or mutually existing.            The claims of the Plaintiffs easily

meet this standard, as they allege – indeed the jury found – that

all three Plaintiffs were wrongfully terminated on the same day

for the same reason as already discussed - their jointly having

exercised     their    First   Amendment       rights     by    calling   the   North

Carolina Governor’s office to complain about misconduct within the

MPD. 13    Given the jury verdict, the terminations had, at a minimum,

a    common   cause.      Thus,    in    the    context        of   Section   III(3),

Plaintiffs’     claims   were     “based      on”   and   “aros[e]     out    of”   the

insured’s “interrelated acts” in firing them and constitute a

single claim.       Cf. Gregory v. Home Ins. Co., 876 F.2d 602, 606

(7th Cir. 1989) (noting that the term “related” should be found

unambiguous where the facts comfortably fit within the commonly

accepted definition).


13
  As noted, in doing so the jury necessarily rejected Defendants’ defense
and evidence that each Plaintiff was terminated for independent reasons.
Plaintiffs’ contention that the Fund’s interpretation “would transform
most claims into a ‘single claim’ subject to the $1M limitation” (Doc.
193 at 8-9) is wholly unsupported.

                                         27



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     Furthermore, Plaintiffs offer no plausible explanation for

the inclusion of the limitation of “Persons or organizations making

‘claims’” in Section III(1)(c).         They contend that it serves to

“reiterate   that   multiple   ‘persons’    with   multiple   claims      are

limited to the Annual Aggregate of $3M.”           (Doc. 193 at 7.)        If

that were the case, it would be a redundancy.         Courts should not

reach interpretations that render contractual terms meaningless or

redundant.   Lane v. United States, 286 F.3d 723, 731 (4th Cir.

2002) (noting it is a basic principle of statutory interpretation

to “avoid a reading which renders some words altogether redundant”

(quoting Gustafson v. Alloyd Co., 513 U.S. 561, 574 (1995)));

Maddox v. Colonial Life & Acc. Ins. Co., 303 N.C. 648, 654, 280

S.E.2d 907, 910 (1981) (discussing the “general rules of insurance

contract construction” to interpret a policy in a way that does

not render “any provision of the [insurance] policy redundant or

ineffectual”).

     It is true that exclusions to coverage should be strictly

construed.   City of Greenville v. Hayward, 130 N.C. App. 271, 276,

502 S.E.2d 430, 433 (1988).       But this does not give license to

expand coverage where none was bargained for between the insurer

and the insured.    Wachovia Bank & Trust Co., 276 N.C. at 354, 172

S.E.2d at 522; Ledford v. Nationwide Mut. Ins. Co., 118 N.C. App.

44, 453 S.E.2d 866, 869 (1995) (stating that “the court must

enforce the [insurance] policy as written and may not reconstruct

                                   28



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[it] under the guise of interpreting an ambiguous provision”

(citations omitted)).

      The court’s construction is consistent with other provisions

of the policy.        For example, the insurance agreement provides

coverage for all “claims” made within the policy period, and it

deems “all ‘claims’ based on or arising out of the same or related

‘employment wrongful act(s)’ or offenses by one or more insureds”

to have been “first made when the first of such ‘claims’ is made.”

(Doc. 186-1 at 27.)          In addition, the policy treats multiple

“claims” that are “based on or arising out of the same act or

interrelated acts of one of more insureds” to be a “single ‘claim’”

for purposes of the deductible.             (Id. at 33.)         The deductible

applies to “all damages sustained by any person or organization as

the result of any one ‘claim.’”            (Id.)   In this case, therefore,

the policy applies only one deductible to Plaintiffs’ claims.14

These provisions reflect an intent across the policy to treat all

claims arising out of the same or related employment wrongful

act(s) as a single claim.

      This   result    is   also   consistent      with    cases   interpreting

similar    policies.        See,   e.g.,   Gregory,       876   F.2d   at   604-06

(rejecting claim that the “each claim” limit of $500,000 applied




14Indeed, counsel for the Fund confirmed during the telephonic hearing
on February 1, 2017, that the Town is subject to one deductible in order
to receive coverage for Plaintiffs’ claims.

                                      29



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separately to claims against the insured law firm brought by a

class of investors who purchased a securities offering (alleging

securities fraud, common law fraud, and RICO violations) and

crossclaims    brought    by       the        investment   broker     (alleging

malpractice) where the policy provided that “[t]wo or more claims

arising out of a single act, error, omission or personal injury or

a series of related acts, errors, omissions or personal injuries

shall be treated as a single claim”); Highwoods Props., Inc., 407

F.3d at 924 (applying North Carolina law and holding that a class

action brought after dismissal of a prior putative class action

nevertheless constituted a “related” claim subject to the policy’s

“single claim” limit even though it alleged different legal claims

and “the two cases did not arise out of identical facts,” but “were

grounded in actions taken by the defendants in relation to the

[same company’s] acquisition”); Liberty Ins. Underwriters, Inc. v.

Davies Lemmis Raphaely Law Corp., 162 F. Supp. 3d 1068, 1078-79

(C.D. Cal. 2016) (finding that seven separate lawsuits against a

law firm, each alleging false representations as to sales of

properties,   constituted      a   “single        claim”   under    the   policy

provision stating, “Claims alleging, based upon, arising out of or

attributable to the same or related wrongful acts shall be treated

as a single claim regardless of whether made against one or more

than one of you” because they were “related” and arose out of a

“single course of conduct” reflecting a fraudulent scheme), appeal

                                         30



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docketed,      No. 16-55711 (9th Cir. May 16, 2016); Barr v. Colo.

Ins. Guar. Ass’n & W. Guar. Fund Servs., 926 P.2d 102, 104-05

(Colo. Ct. App. 1995) (finding that claims against officers and

directors of cooperative of member grocery stores for damages

relating to a failed loan asserted a single claim under policy

providing “Losses arising out of the same Wrongful Act by one or

more of the Directors and/or Officers or interrelated Wrongful

Acts by one or more of the Directors and/or Officers shall be

considered a single Loss”); cf. Lexington Ins. Co. v. Lexington

Healthcare Grp., Inc., 311 Conn. 29, 39, 44, 84 A.3d 1167, 1174,

1176 (2014) (finding multiple claims by nursing home residents

injured by a fire not to be “related” under policy providing that

“[a]ll    claims     arising   from    continuous,     related,   or   repeated

medical incidents shall be treated as arising out of one medical

incident”;     the    court    noted    that   “each   individual      defendant

[claimant] was differently situated . . . [and] the particular

array of negligent shortcomings that ultimately led to his or her

injury or death necessarily varied”).

     Plaintiffs rely on Beaufort County School District v. United

National Ins. Co., 392 S.C. 506, 709 S.E.2d 85 (2011).              There, the

court, applying South Carolina law, found no error in the trial

court’s conclusion that the claims of seven students who brought

two lawsuits against the school district for sexual abuse were not

subject   to   the    district’s      insurance   policy   combining     related

                                        31



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claims.    Id. at 523.    The case is readily distinguishable.            The

policy defined “claim” as “all notices or suits . . . based on, or

arising out of the same sexual abuse or series of sexual abuses by

one or more employees.”    Id. at 516-17.    “Sexual abuse” was defined

as “any actual, attempted or alleged criminal sexual conduct of a

person by another person.”       Id. at 514 (emphasis added).             The

endorsement provided that “related sexual abuses” would be deemed

“one sexual abuse” for “all claims based on or arising out of the

same sexual abuse or a series of related sexual abuses by one or

more employees.”    Id. at 514, 517.      The court reasoned that the

policy’s inclusion of “sexual abuse” in the definition of “claim”

reflected an intent to use the singular “person” in reference to

the victim.   Id. at 517.     Thus, the court concluded, a series of

sexual abuses refers to a series of abuses against “a person.”

Id. at 517-19.     In contrast to these facts, the Fund’s policy

contains no such specific terms upon which to make an analogous

finding.

     The present case is also distinguishable from the line of

cases finding that claims brought by separate claimants are not

“related” for purposes of being treated as a single claim under a

claims made policy.      In those cases, while some courts refer to

the fact that each plaintiff has separate damages, they frequently

rely on the fact that the insureds owed separate and different

duties to each claimant that resulted in different and distinct

                                   32



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harms.      See, e.g., Scott v. Am. Nat’l Fire Ins. Co., 216 F. Supp.

2d   689,     693-95   (N.D.      Ohio      2002)   (finding    that       insured   owed

different      duties       to    a     corporate      claimant      and     individual

investors); St. Paul Fire & Marine Ins. Co. v. Chong, 787 F. Supp.

183, 188 (D. Kan. 1992) (finding three malpractice claims arising

out of an attorney’s joint representation of three clients in a

criminal trial to be unrelated because the attorney owed each

client a separate legal duty and rendered separate legal services

to each); Beale v. Am. Nat’l Laws. Ins. Reciprocal, 379 Md. 643,

666, 843 A.2d 78, 92-93 (2004) (finding unrelated claims on behalf

of children injured by lead exposure where the attorney/insured

owed separate duties to each child).                 Here, the duty owed to each

Plaintiff, employed at will, was the same, and the harm caused –

termination of employment – is identical.                 Only the calculation of

damages differs, but not because of any different conduct by the

insured,      but   based    on       the   circumstances      of    the    Plaintiff’s

employment history.

      For     these     reasons,        the    court    finds       that    Plaintiffs’

collective claims constitute a “single claim” within the Fund’s

policy, which limits coverage to $1 million for the loss claimed

by them. 15



15 Neither the Fund nor any party raises any argument regarding the Fund’s

policy endorsement and provisions as to “back pay.” The court therefore
reaches no conclusion as to it.


                                              33



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            2.    Governmental Immunity and State Constitutional
                  Claim

      Based on the court’s finding that the Fund’s policy is limited

to $1 million for Plaintiffs’ aggregated claims, the Town enjoys

governmental     immunity    for   damages    exceeding    that   coverage.

Plaintiffs argue, however, that they are entitled to recover

against the Town their full damages beyond the insurance coverage

based on their second cause of action under the Declaration of

Rights contained in Article I of the North Carolina Constitution. 16

They contend that the lack of adequate insurance coverage and the

barrier of governmental immunity render their remedies inadequate

as a matter of law, entitling them to recovery under the North

Carolina Constitution.       (Doc. 193 at 12-20.)

      In Corum v. University of North Carolina, where a university

faculty member discharged for exercising his free speech rights

brought an action under the Declaration of Rights in Article I of

the North Carolina Constitution, the North Carolina Supreme Court

held that “in the absence of an adequate state remedy, one whose


16
   The Town argues that the State constitutional claim cannot proceed
because it was not submitted to the jury. (Doc. 186 at 3.) But, as
Plaintiffs properly point out, Defendants conceded during the September
16, 2016 telephonic hearing that the elements of the State constitutional
claim are subsumed in the jury interrogatory for Plaintiff’s claim for
wrongful discharge based on the North Carolina Constitution (question 2
on the verdict sheet). (Doc. 167 at 1-2.) Indeed, this was the intent
expressed at the charge conference in order to simplify the verdict sheet
in this case, as all parties agreed that the viability of a remedy under
the constitutional claim presented a post-verdict question of law for
the court if the jury found in Plaintiffs’ favor on the wrongful
discharge claim.

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state constitutional rights have been abridged has a direct claim

against the State under our Constitution” despite governmental

immunity that would otherwise be present.          330 N.C. 761, 782, 786,

413 S.E.2d 276, 289, 291-92 (1992).           Relying on Merriam-Webster’s

definition    of    “adequate”     as    “sufficient    for        a    specific

requirement; lawfully and reasonably sufficient,” Plaintiffs argue

that “adequacy can only mean the remedy that was awarded by the

jury and then modified by the Court.”          (Doc. 193 at 13.)         Relying

further on a 1985 law review article, Plaintiffs argue that a

recovery limited to the $1 million in insurance coverage would be

inadequate because it denies them the “make-whole relief” to which

they are entitled.     (Id.)

     As Defendants point out, adequacy of a remedy for purposes of

a constitutional claim is a matter addressed by North Carolina

case law, not dictionaries.       The North Carolina Supreme Court has

directed that before invoking the “extraordinary exercise of its

inherent constitutional power,” a court “must bow to established

claims and remedies,” Corum, 330 N.C. at 784, 413 S.E.2d at 291,

and find inadequacy only where there is a complete absence of a

remedy under State law, Craig v. New Hanover Cty. Bd. of Educ.,

363 N.C. 334, 339-40, 678 S.E.2d 351, 355 (2009) (finding that “to

be considered adequate in redressing a constitutional wrong, a

plaintiff    must   have   at   least   the    opportunity    to       enter   the

courthouse doors and present his claim”).           “[A]dequacy” is found

                                    35



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not in success, but in chance.”              Debaun v. Kuszaj, 238 N.C. App.

36, 41, 767 S.E.2d 353, 357 (2014) (finding that plaintiff’s

failure to overcome public official immunity did not render claim

inadequate to provide for constitutional liability); see Davis v.

Blanchard, 175 F. Supp. 3d 581, 594 n.6 (M.D.N.C. 2016) (equating

an    “adequate   remedy   as   ‘an    “available,    existing,    applicable”

[remedy] but not necessar[ily] successful, remedy’” (quoting Frye

v. Brunswick Cty. Bd. of Educ., 612 F. Supp. 2d 694, 704 (E.D.N.C.

2009))).      As this court has explained, “Corum never guaranteed a

recovery; rather, it guarantees an opportunity to seek redress for

the constitutional wrong.”            Edwards v. City of Concord, 827 F.

Supp. 2d 517, 523 (M.D.N.C. 2011) (citing Craig, 363 N.C. at 340,

678 S.E.2d at 355–56).

       Where North Carolina courts have found inadequacy, they have

predicated it on the existence of a complete bar to any recovery.

They have noted that the North Carolina Supreme Court has “used

the language of impossibility, noting that governmental immunity

stood as ‘an absolute bar’ to the plaintiff’s claim, ‘entirely’

and     ‘automatically’      precluded        recovery,   and     made   relief

‘impossible.’”       Wilcox v. City of Asheville, 222 N.C. App. 285,

299–300, 730 S.E.2d 226, 237 (2012); see also Glenn-Robinson v.

Acker, 140 N.C. App. 606, 631-32, 538 S.E.2d 601, 619 (2000)

(holding that claims under the North Carolina Constitution are

cognizable only if there is no common law cause of action).

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Consequently, a plaintiff has been found to be left with no remedy

for his alleged constitutional injuries where an excess liability

policy operates to “entirely preclude[]” any recovery so as to

“make relief impossible.”        Craig, 363 N.C. at 340, 678 S.E.2d at

355-56. 17   So, too, will the availability of administrative review

constitute an adequate State law remedy that prohibits a plaintiff

from advancing his State constitutional law claim.              Hawkins v.

State, 117 N.C. App. 615, 629, 453 S.E.2d 233, 241 (1995).              Even

the presence of a statute of limitations that bars a claim will

not render a claim inadequate.       Craig, 363 N.C. at 340, 678 S.E.2d

at 355-56. 18

      Thus, because Plaintiffs have a remedy for their free speech

injuries under their State law claim for wrongful discharge to the

extent of the Fund’s $1 million “Each Claim limit,” their recovery

is not completely barred and is deemed “adequate” for purposes of



17By contrast, in an unpublished decision, the North Carolina Court of
Appeals held that a plaintiff had an adequate remedy under State law
partially because the defendant had waived sovereign immunity to the
extent of the value of a surety bond, even though the plaintiff’s State
constitutional claims failed on the merits. Johnson v. Causey, 207 N.C.
App. 748, 701 S.E.2d 404 (2010). While unpublished opinions of the North
Carolina Court of Appeals are not precedential, the court finds this
reasoning to be further indication that North Carolina courts consider
a remedy adequate where immunity is waived by the purchase of insurance.
State v. Pritchard, 186 N.C. App. 128, 129, 649 S.E.2d 917, 918 (2007)
(recognizing instructive value of unpublished opinion of North Carolina
Court of Appeals).
18 Given the court’s ruling, it need not address Bralley and Cook’s

argument that Plaintiffs had an adequate remedy at State law because
Plaintiffs had other viable State law claims they could have brought
against these Defendants. (Doc. 186 at 4.)

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the North Carolina constitutional claim.                Phillips v. Gray, 163

N.C. App. 52, 58, 592 S.E.2d 229, 233 (2004) (finding presence of

wrongful discharge claim for violation of free speech rights

adequate so as to render direct constitutional claim unwarranted).

Plaintiffs’ second claim for relief under the North Carolina

Constitution will therefore be dismissed.

             3.    Bralley and Cook’s Argument as to Plaintiffs’
                   Remedies

       Bralley and Cook argue that Plaintiffs are entitled to only

one satisfaction of their compensatory damages judgment against

them   and   the   Town   and   that    “this   Court    must   give   the    same

preclusive effect to any satisfaction of the Plaintiffs’ claims

against the Town.”        (Doc. 187 at 7.)      Plaintiffs do not directly

respond to this argument.         However, the issue raised relates to

post-judgment      remedies,    which     are   premature       at   this    time.

Therefore, the court declines to issue what would be an advisory

ruling.

III. CONCLUSION

       For the foregoing reasons,

       IT IS ORDERED that Plaintiffs’ motion to supplement the record

(Doc. 206) is GRANTED IN PART as to Exhibit A (Doc. 206-1) as noted

herein, that Plaintiffs’ motion to reconsider equitable remedies

(Doc. 191) is GRANTED IN PART AND DENIED IN PART, and the Town is

DIRECTED to reinstate Donathan to his former position as MPD


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lieutenant as soon as a position becomes available.        Once the Town

reinstates Donathan, its obligation to pay any prorated unpaid

front pay awarded herein shall terminate.

     IT IS FURTHER ORDERED that the Fund’s motion to intervene

(Doc. 195) is GRANTED, and the court concludes that insurance

coverage under the Fund’s policy for judgment as to Plaintiffs’

wrongful discharge claim against the Town under State law (second

claim for relief) is limited to a total of $1 million for the

combined Plaintiffs’ claims.

     A Judgment reflecting these rulings will be entered.



                                           /s/   Thomas D. Schroeder
                                        United States District Judge

February 21, 2017




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